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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


  VIDSTREAM LLC,
                                                        Civil Action No. 3:16-cv-00764-N
                     Plaintiff,
                                                             Judge David C. Godbey
         v.

  TWITTER, INC.,

                     Defendant.


                                     JOINT PRETRIAL ORDER

        Pursuant to the Court’s Stipulation and Order Regarding Scheduling Order (Dkt. No.

 322), Local Rule 16.4, and Rule 26 of the Federal Rules of Civil Procedure, Plaintiff VidStream

 LLC (“VidStream” or “Plaintiff”) and Defendant Twitter, Inc. (“Twitter” or “Defendant”) hereby

 submit this Joint Pretrial Order.

 I.     APPEARANCE OF COUNSEL

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 II.    SUMMARY OF THE CLAIMS AND DEFENSES OF EACH PARTY

                1.    As required by Local Rule 16.4(a), below is a Summary of the Claims
                and Defenses for Each Party:

        B.      VIDSTREAM LLC

        1.      By providing these contentions, VidStream does not concede that all of these

 issues are appropriate for trial. Nor does VidStream concede that Twitter’s contentions have been

 properly disclosed. In addition, VidStream does not waive any of its motions in limine.

        2.      VidStream contends that Twitter directly infringes claims 17, 22, 23, and 24 of

 U.S. Patent No. 8,464,304 (the “’304 Patent”) and claims 23 and 24 of U.S. Patent No. 8,601,506

 (the “’506 Patent”) (collectively, the “Asserted Claims” and “Asserted Patents” respectively)

 under 35 U.S.C. § 271(a) by making, using, selling, and offering to sell the Twitter app,

 Periscope App, and Vine App (collectively, the “Accused Apps”) in the United States.

        3.      VidStream also contends that to the extent Twitter claims its users are the direct

 infringers of the Asserted Claims under 35 U.S.C. § 271(a), Twitter is liable for its user’s direct

 infringement of the Asserted Claims because: (1) Twitter profits from its users’ installation and

 use of the Twitter app while declining to exercise the rights, powers, and abilities it has to stop or

 limit its users’ installation and use of the Twitter app; and (2) Twitter conditions the benefits

 derived from its app by its users on its users’ installation and use of the Twitter app.

        4.      VidStream also contends that Twitter indirectly infringes the Asserted Claims

 under 35 U.S.C. § 271(b) by actively inducing its end users to infringe the Asserted Claims,

 while having actual knowledge of or being willfully blind to its infringement.

        5.      VidStream contends that each of the Asserted Patents has been issued by the

 United States Patent and Trademark Office and therefore is entitled to a presumption of validity,




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 and that Twitter cannot prove that any of the Asserted Claims are invalid by clear and convincing

 evidence.

          6.    VidStream contends that it has been damaged by Twitter’s conduct and seeks

 damages adequate to compensate for the infringement by Twitter, but in no event less than a

 reasonable royalty, as well as prejudgment and post-judgment interests and costs as fixed by the

 Court. To the extent that Twitter continues its infringement post-trial, VidStream seeks an

 ongoing royalty.

          7.    VidStream contends that it complied with the obligations of 35 U.S.C. § 287 and

 it is entitled to recover pre-suit damages.

          8.    VidStream contends that this case is exceptional, and that VidStream is entitled to

 reasonable attorneys’ fees and costs (including consultants’ fees and costs) pursuant to 35 U.S.C.

 § 285.

          9.    VidStream contends that Twitter’s infringement is and has been willful—through

 both actual knowledge and willful blindness—and thus requests that the Court award VidStream

 enhanced damages pursuant to 35 U.S.C. § 284, as well as supplemental damages for any

 continuing post-verdict infringement up until entry of final judgment and an accounting for

 damages if necessary.

          10.   VidStream denies all of Twitter’s defenses and counterclaims in its Answer to

 Plaintiff’s Second Amended Complaint.

          11.   VidStream contends that Twitter has made, used, sold, offered for sale in the

 United States infringing applications in the United States including the Accused Apps.

          12.   VidStream contends the appropriate measure of damages in this case is a running

 royalty, not a lump sum.




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        13.     VidStream contends that it is entitled to a permanent injunction enjoining Twitter,

 its agents, officers, assigns and others acting in concert with them, from infringing, inducing

 infringement of and/or contributing to infringement of the ’304 and ’506 patents.

        14.     VidStream objects to any contention that is subject to any currently pending

 motion in this matter.

        15.     VidStream objects to the re-litigation of any issue that has already been

 determined by the Court or the Patent Trial and Appeal Board.

        16.     VidStream objects to Twitter’s contentions to the extent that they are inconsistent

 with the factual record or law.

        C.      TWITTER, INC.

        By providing these contentions, Twitter does not concede that all of these issues are

 appropriate for trial or that VidStream’s contentions have been properly disclosed. Twitter does

 not waive any of its motions in limine.

        17.     Twitter contends that VidStream has not established ownership of the Asserted

 Patents and that VidStream therefore lacks standing to sue for infringement.

        18.     Twitter denies that it or its users have infringed or do infringe directly, jointly, or

 contributorily the Asserted Claims of the Asserted Patents under 35 U.S.C. § 271(a).

        19.     Twitter denies that it induced infringement of the Asserted Claims of the Asserted

 Patents under 35 U.S.C. § 271(b).

        20.     Twitter contends the Asserted Claims of the Asserted Patents, as they have been

 applied by VidStream for purposes of arguing infringement, are invalid as anticipated or for

 obviousness under 35 U.S.C. §§ 102 and 103, respectively, in view of the following prior art:

    x   ’304 patent
           1. Implementation of Wowza and FMLE, Section 102
           2. System of Wowza and FMLE, Section 103


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              3.   System of Wowza and Debut, Section 103
              4.   System of Wowza and FMLE in view of Coleman, Section 103
              5.   System of Wowza and Debut in view of Coleman, Section 103
              6.   System of Wowza and FMLE in view of Chiu, Section 103

    x   ’506 patent
           1. Implementation of Wowza and FMLE, Section 102
           2. System of Wowza and FMLE, Section 103
           3. System of Wowza and Debut, Section 103
           4. System of Wowza and FMLE in view of Cohen, Section 103
           5. System of Wowza and FMLE in view of Daun, Section 103
           6. System of Wowza and Debut in view of Daun, Section 103

        21.        Twitter contends the Asserted Claims of the Asserted Patents, as they have been

 applied by VidStream for purposes of arguing infringement, are invalid for lack of written

 description under 35 U.S.C. § 112.

        22.        Twitter contends that VidStream cannot demonstrate any objective evidence of

 nonobviousness, or any nexus between any alleged evidence and the alleged invention of the

 Asserted Claims.

        23.        Twitter denies that it is seeking to re-litigate any issue that has already been

 determined by the Patent Trial and Appeal Board or that any of its invalidity arguments are

 subject to Inter Partes Review estoppel.

        24.        Twitter denies that VidStream is entitled to any damages because the Asserted

 Claims are invalid and not infringed. In addition, Twitter contends VidStream’s claims are

 barred in whole or in part by its failure to provide adequate notice under 35 U.S.C. § 287. Even

 if the Asserted Claims are determined to be not invalid and infringed, Twitter contends that

 VidStream’s damages amount is inflated, unreliable, and fundamentally unsound, and

 inconsistent with the damages limitations set forth in 35 U.S.C. § 285. Twitter contends that any

 damages should be limited to an amount commensurate with the real-world evidence of the value

 of the Asserted Patents, and the limited use made of the alleged invention by Twitter. The



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 alleged invention of the Asserted Claims is not valuable to Twitter and the technology VidStream

 accuses of infringement was only a small, rarely used part of the Accused Apps.

        25.     Twitter further contends that acceptable, non-infringing alternatives to the

 Asserted Claims of the Asserted Patents were available to Twitter as of the date of the first

 alleged infringement and have since been implemented, and both would have been taken into

 account at any hypothetical negotiation and would make a running royalty inappropriate.

        26.     Twitter denies that it willfully infringed the Asserted Claims of the Asserted

 Patents, even if it is found that Twitter infringed those claims. VidStream has not identified any

 instance in which it gave Twitter actual notice of alleged infringement of the Asserted Claims or

 the Asserted Patents before March 18, 2016, the filing date of this action. Even after March 18,

 2016, Twitter contends that it believed in good faith that the Asserted Claims of the Asserted

 Patents were invalid and not infringed, and, therefore, VidStream cannot demonstrate that any

 alleged infringement by Twitter was willful.

        27.     Twitter contends that VidStream is not entitled to prejudgment interest, post-

 judgment interest, attorneys’ fees, expenses, or costs incurred in this action. On the other hand,

 Twitter contends that this is an “exceptional” case and Twitter is entitled to its costs, expenses,

 and reasonable attorney fees pursuant to 35 U.S.C. § 285.

        28.     Twitter contends that VidStream’s claims are barred in whole or in part by the

 equitable doctrines of estoppel, unclean hands, acquiescence, laches, disclaimer, and/or waiver.

        29.     Twitter contends that VidStream is not entitled to injunctive relief at least

 because: (1) VidStream has not suffered nor will it suffer irreparable harm as a result of Twitter’s

 conduct; (2) any harm suffered by VidStream if an injunction were not granted would be

 outweighed by harm to Twitter if an injunction were granted; (3) VidStream would have an




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 adequate remedy at law if it were to prevail on the merits in this action; and (4) the public

 interest would not be served by an injunction.

         30.     Twitter objects to any of VidStream’s contentions that are subject to any currently

 pending motion in this matter.

         31.     Twitter objects to VidStream’s contentions to the extent that they are inconsistent

 with the factual record or law.

 III.    STATEMENT OF STIPULATED FACTS

         32.     As required by Local Rule 16.4(b), below is a Statement of Stipulated Facts,

 which will be read to the jury and become a part of the evidentiary record.

         Stipulations

         33.     Plaintiff VidStream is a Delaware limited liability company.

         34.     VidStream is the successor-in-interest to Youtoo Technologies, LLC, the original

 plaintiff in this action.

         35.     Defendant Twitter is a Nevada corporation.

         36.     The ’304 Patent, entitled “Content Creation and Distribution System,” was duly

 and legally issued on June 11, 2013, naming Mark A. Harwell, Christopher W. Wyatt, and Ryland

 M. Reed as inventors.

         37.     The ’304 Patent issued from U.S. Patent Application No. 13/185,471 filed on July

 18, 2011 which was a continuation-in-part of Patent Application No. 13/013,775 filed on January

 25, 2011.

         38.     The ’506 Patent, entitled “Content Creation and Distribution System,” was duly

 and legally issued on December 3, 2013, naming Mark A. Harwell, Christopher W. Wyatt, and

 Ryland M. Reed as inventors.




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           39.    The ’506 Patent issued from U.S. Patent Application No. 13/571,476 filed on

 August 10, 2012 which was a continuation of U.S. Patent Application No. 13/185,471 which

 issued as the ’304 Patent.

           40.    In March 2023, Twitter, Inc. merged into X Corp. and Twitter’s platform is now

 known as “X.”

           41.    Twitter acquired Vine in October 2012 and launched Vine in January 2013 as a

 standalone mobile device application used for recording and sharing video clips.

           42.    Vine was discontinued on January 17, 2017.

           43.    Twitter acquired Periscope in January 2015 and launched Periscope in March

 2015 as a standalone mobile device application used, among other things, for live video

 broadcasting.

           44.    Periscope was discontinued on March 31, 2021.

 IV.       LIST OF CONTESTED ISSUES OF FACT (OR MIXED QUESTIONS OF LAW
           AND FACT)

           45.    As required by Local Rule 16.4(d), the following is a listing of the parties’

 contested issues of fact:

       x   VidStream’s Statement of Contested Issues of Fact or Mixed Questions of Law and

           Fact

                  a.     Whether Twitter directly or indirectly infringes claims 17, 22, 23, and 24

                         of the ’304 Patent.

                  b.     Whether Twitter directly or indirectly infringes claims 23 and 24 of the

                         ’506 Patent.

                  c.     Whether Twitter’s infringement has been willful.




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               d.      Whether Twitter has proven by clear and convincing evidence that the

                       claims of the Asserted Patents are anticipated or obvious under 35 U.S.C.

                       §§ 102 or 103 in view of Twitter’s prior art systems.

               e.      Whether VidStream is entitled to damages to compensate for Twitter’s

                       infringement, and, if so, the dollar amount of damages to the time of

                       judgment adequate to compensate VidStream for the infringement of the

                       Asserted Patents, but in no event less than a reasonable royalty.

               f.      Whether VidStream is entitled to enhanced damages pursuant to 35 U.S.C.

                       § 284, and if so, the dollar amount of the enhancement.

               g.      Any issues of fact that are determined to constitute issues of law are

                       hereby designated as such, and vice versa.

               h.      VidStream also incorporates by reference the contested issues raised in its

                       pending motions.

     x   Twitter’s Statement of Contested Issues of Fact or Mixed Questions of Law and Fact

               a. Whether VidStream has shown by a preponderance of the evidence that the

                    Asserted Patents have been assigned to it.

               b. Whether VidStream has shown by a preponderance of evidence that Twitter

                    directly infringes the Asserted Claims under 35 U.S.C. § 271(a).

               c. Whether VidStream has shown by a preponderance of evidence that Twitter

                    indirectly infringes the Asserted Claims under 35 U.S.C. § 271(b).

               d. Whether Twitter has shown by clear and convincing evidence that the

                    Asserted Claims are anticipated or obvious under 35 U.S.C. §§ 102 or 103,

                    respectively, under VidStream’s application of the Asserted Claims.




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                 e. Whether Twitter has shown by clear and convincing evidence that the

                      Asserted Claims are invalid under 35 U.S.C. § 112 for lack of written

                      description.

                 f. Whether VidStream has shown by a preponderance of the evidence that it is

                      entitled to an award of reasonable royalty damages, and, if so the amount of

                      reasonable royalty damages to which it is entitled.

                 g. Whether Twitter has shown that there were acceptable non-infringing

                      alternatives to the Asserted Claims available to Twitter as of the date of the

                      first alleged infringement.

                 h. Whether VidStream has shown by a preponderance of evidence that any

                      alleged infringement by Twitter has been willful.

                 i. Any issues of fact that are determined to constitute issues of law are hereby

                      designated as such, and vice versa.

                 j. Twitter also incorporates by reference the contested issues raised in its

                      pending motions.

  V.     LIST OF CONTESTED ISSUES OF LAW

         46.     As required by Local Rule 16.4(d), the following is the parties’ listing of the

  contested issues of law:

         47.     VidStream identifies the following contested issues of law:

                 a.      Whether Twitter is entitled to call undisclosed or improperly disclosed

                         witness at trial.

                 b.      Whether Twitter is estopped pursuant to 35 U.S.C. § 315(e)(2) from

                         asserting prior art that was raised or reasonably could have been raised




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                       before the Patent Trial and Appeal Board during the Inter Partes Review

                       of the ’304 and ’506 Patents.

              c.       VidStream contends that all issues related to the proper instructions to be

                       given to the jury require determination by the Court.

              d.       VidStream contends that all issues related to Twitter’s equitable defenses

                       require determination by the Court, should not be submitted to the jury,

                       and the jury should not be advised of those defenses.

              e.       VidStream contends that all issues related to VidStream’s claims for post-

                       trial issues such as ongoing royalties, injunctive relief, exceptional case,

                       enhanced damages, costs, attorneys’ fees, pre- and post-judgment interest,

                       and post-trial damages require determination by the Court.

        48.   Twitter identifies the following contested issues of law:

              a.       Twitter contends that all issues related to the proper instructions to be

                       given to the jury require determination by the Court.

              b.       Twitter contends that whether VidStream has standing to sue for

                       infringement requires determination by the Court.

              c.       Twitter contends that whether VidStream’s claims are barred in whole or

                       in part by Twitter’s equitable defenses of estoppel, unclean hands,

                       acquiescence, laches, disclaimer, and/or waiver require determination by

                       the Court.

              d.       Twitter contends that whether this case is “exceptional” and Twitter is

                       entitled to its costs, expenses, and reasonable attorney fees pursuant to 35

                       U.S.C. § 285, requires determination by the Court.




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                     e.     Twitter contends that all issues related to VidStream’s requests for ongoing

                            royalties, injunctive relief, enhanced damages, costs, attorneys’ fees, pre-

                            and post-judgment interest, and post-trial damages require determination

                            by the Court.

          49.        The parties also reserve the right to identify additional contested issues of law that

  may become apparent after the parties have exchanged witness lists, exhibit lists, and jury

  charges.

  VI.     AN ESTIMATE OF THE LENGTH OF TRIAL

          50.        As required by Local Rule 16.4(e), the parties provide their position regarding the

  length of trial.

          51.        VidStream: VidStream estimates the probable length of trial will be 5 days.

  VidStream requests 14 hours per side for direct, cross, and rebuttal examination. VidStream

  further requests 45 minutes per side for an opening statement, and 45 minutes per side for

  closing arguments.

          52.        Twitter: Twitter estimates the probable length of trial will be 5 business days.

  Twitter requests 14 hours per side for direct, cross, and rebuttal examination. Twitter further

  requests 45 minutes per side for an opening statement, and 60 minutes per side for closing

  arguments.

  VII.    A LIST OF ANY ADDITIONAL MATTERS THAT MIGHT AID IN THE
          DISPOSITION OF THE CASE

          53.        As required by Local Rule 16.4(f), below is a list of any additional matter that

  might aid in the disposition of the case:




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            A.    Juror Information

            54.   The parties’ proposed jury instructions are attached as Exhibit 1. The parties’

  joint proposed verdict form is attached as Exhibit 2. The parties will continue to meet and confer

  regarding any competing proposals in an effort to resolve issues before presenting them to the

  Court.

            55.   The parties agree and request that the Federal Judicial Center Patent System

  Video will be played and the sample patent will be handed out to the jurors before the video is

  played.

            56.   The parties agree that each juror should be provided with an agreed-upon juror

  notebook containing the Asserted Patents and a list of construed claim terms for each of the

  Asserted Patents. On each day of trial, the parties may also provide a witness sheet for each

  witness that will testify. This witness sheet may include only the witness’s name and a small

  photograph of the witness, and will otherwise contain space for note taking.

            57.   The parties agree that the jurors shall be permitted to take handwritten notes

  during the presentation by the parties. The parties further agree that the jury will be permitted to

  bring these notebooks and handwritten notes into the deliberation room.

            B.    List of Pending Motions

            58.   The following opposed motions are pending with the Court.

                                                                                         Briefing
           Dkt. No.                    Motion                       Date Filed
                                                                                         Complete
     364 (Opening)
     377 (Response)        VidStream’s Motions in limine        February 5, 2025      March 5, 2025
      381 (Reply)
     366 (Opening)
     376 (Response)          Twitter’s Motions in limine         February 5, 2025     March 5, 2025
      382 (Reply)




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                                                                                          Briefing
        Dkt. No.                         Motion                      Date Filed
                                                                                          Complete
     373 (Opening)           VidStream’s Motion to Strike
     378 (Response)         Twitter’s Late-Disclosed Witness,    February 20, 2025      March 2, 2025
      380 (Reply)                  Mr. Keith Coleman


            C.      Witnesses

            59.     Attached as Exhibit 3 is VidStream’s Witness List (“VidStream LLC’s Second

  Amended Witness List”).

            60.     Attached as Exhibit 4 is Twitter’s Witness List (“Twitter’s First Amended Witness

  List”).

            61.     With respect to those witnesses whom the parties have identified in Exhibits 3–4

  who will be called to testify in person at trial, no deposition designations or counter-designations

  are required. The calling party may not call a live witness at trial unless identified in accordance

  with the procedures herein. Should the party that intends to call such a witness determine that it

  will not call the witness, that party shall immediately notify the other side in good faith and by

  no later than the timeline for disclosing witnesses pursuant to Paragraph 95 to allow the other

  side sufficient time to prepare deposition designations.

            62.     Pursuant to Federal Rules of Evidence 615, fact witnesses for the jury trial, other

  than witnesses who have already testified and have been excused, shall be sequestered and

  prevented from hearing the testimony of other witnesses. Pursuant to provision (2) of Rule 615,

  this exclusion will not apply to the officer or employee designated by each party as its

  representative.

            63.     Expert witnesses disclosed under rule 26(a)(2)(B) of the Federal Rules of Civil

  Procedure shall not be excluded from either fact or expert testimony.




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         D.      Exhibits

         64.     VidStream’s Exhibit List is attached as Exhibit 5. Twitter’s Exhibit List is

  attached as Exhibit 6. In an effort to resolve all objections and issues prior to presenting them to

  the Court, the Parties will meet and confer regarding their respective objections as part of the

  parties’ nightly exchanges as set forth below.

         65.     The parties agree that the patents, prosecution histories, and assignment records

  will be pre-admitted before trial without further offer of proof or certified copies, subject only to

  the parties’ motions in limine and objections regarding accuracy if the proposed exhibit needs

  correction or is not accurate.

         66.     Each party may use an exhibit that is listed on an opposing party’s exhibit list to

  the same effect as though it were listed on its own exhibit list, subject to any applicable

  evidentiary objections, and provided that the disclosure requirements discussed above are

  followed.

         67.     Exhibits to be used during a party’s cross-examination of a witness called by the

  opposing party, or solely for impeachment purposes, need not be identified in advance.

         68.     No party may offer as evidence an exhibit not present on either party’s exhibit list

  absent Court order or by agreement of the parties.

         69.     A party’s failure to introduce any exhibit appearing on its list shall not be

  commented on during trial—specifically, no one may comment that there was such a document

  on an exhibit list but then it was not offered into evidence or accepted into evidence. A party

  may, however, comment on the absence of admitted evidence on a topic even though there may

  be unintroduced exhibits on that topic.




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         E.       Deposition Designations

         70.      Pursuant to the Court’s Stipulation and Order Regarding Scheduling Order (Dkt.

  No. 322) the parties exchanged Burden of Proof Deposition Designations on January 15, 2025.

  The parties exchanged Counter-Designations to Burden of Proof Deposition Designations and

  Rebuttal Deposition Designations on January 29, 2025. The parties exchanged Counter-

  Designations to Rebuttal Deposition Designations and Reply Designations to Burden of Proof

  Deposition Designations on February 12, 2025. The parties served Reply Designations to

  Rebuttal Deposition Designations on February 26, 2025. The designations are attached herein as

  described below:

                  1.    VidStream’s Burden of Proof Deposition Designations, Twitter’s Counter-
                  Designations, VidStream’s Rebuttal Deposition Designations, Twitter’s Counter-
                  Designations to Rebuttal Deposition Designations, VidStream’s Reply
                  Designations to Burden of Proof Deposition Designations, and VidStream’s Reply
                  Designations to Rebuttal Deposition Designations are attached as Exhibit 7.

                  2.     Twitter’s Burden of Proof Deposition Designations, VidStream’s Counter-
                  Designations, Twitter’s Rebuttal Deposition Designations, VidStream’s Counter-
                  Designations to Rebuttal Deposition Designations, Twitter’s Reply Designations
                  to Burden of Proof Deposition Designations, and Twitter’s Reply Designations to
                  Rebuttal Deposition Designations are attached as Exhibit 8.

         71.      The Parties will meet and confer regarding their respective objections during

  nightly exchanges in order to strive to resolve all objections and issues prior to presenting them

  to the Court.

         72.      The listings of deposition designation(s) do not constitute an admission as to the

  admissibility of the testimony or discovery response, nor is it a waiver of any applicable

  objection.

         73.      To the extent the Court permits a party to present a witness by deposition at trial

  during its case-in-chief, the party offering the testimony will play or read both the designated

  portion of the testimony and the opposing party’s appropriate counter-designations, omitting


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  objections or colloquy where appropriate. The time for such designations shall be allocated to

  each party accordingly.

         74.     Nothing in the foregoing procedures shall preclude a party from using deposition

  testimony at trial for purposes of impeachment of live witnesses, regardless of whether a party

  identified that testimony on its list of deposition designations, if the testimony is otherwise

  competent for such purpose.

         75.     If an exhibit is properly introduced and provided foundation for in a deposition

  designation played at trial and the Court has not sustained an objection to the exhibit’s admission

  into evidence, the designating or counter-designating party may display the exhibit to the jury

  alongside the video and highlight or enlarge portions of the exhibit on the screen that were

  discussed or referenced in the designation or counter-designation, respectively, as if the exhibit

  was being shown to a live testifying witness.

         F.      Requested Voir Dire Questions

         76.     Attached as Exhibit 9 are VidStream’s requested voir dire questions. Attached as

  Exhibit 10 are Twitter’s requested voir dire questions.

         77.     The parties also request that the Court include additional questions with the

  Standard Civil Jury Questionnaire to be completed by potential jurors prior to voir dire. The

  parties’ additional requested juror questions are attached as Exhibit 11.

         G.      Stipulated Trial Management Procedures

         78.     The parties agree to cooperate in good faith to seek to prevent or limit public

  disclosure of highly confidential documents while recognizing the public interest in public trials.

  To that end, the Parties will meet and confer in good faith to identify those documents or

  categories of documents for which sealing the courtroom is necessary.




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          79.    To avoid delay or wasting the jury’s time, the parties request that the Court take

  up the parties’ overnight disputes regarding demonstratives, deposition designations, witnesses,

  and any other matter requiring resolution outside the presence of the jury before the start of each

  day of trial at 8 a.m. or at a time otherwise convenient for the Court.

                 1.    General Definitions and Procedures for Use of Witness Testimony,
                 Exhibits, and Demonstratives

          80.    “Demonstratives” are exhibits specifically created for the purpose of the trial and

  includes PowerPoints, videos, graphics and animation demonstratives, and physical

  demonstratives. “Demonstratives” does not include (1) displays or exhibits created in the

  courtroom during testimony or opening at trial, (2) the enlargement, highlighting, ballooning,

  underlining, etc. of trial exhibits or transcripts of testimony, (3) demonstratives previously

  displayed in the course of the trial, or (4) demonstratives used for cross-examination.

  Reasonable non-substantive edits or corrections of typographical and similar errors to

  PowerPoint or slide Demonstrative exhibits may be made to such exhibits prior to use. The

  parties further agree that, to the extent a party intends to use PowerPoint or slide Demonstratives,

  the slides will be disclosed in the order the party presently intends to present those slides.

          81.    VidStream’s Demonstratives will be identified with PDX numbers, starting with

  PDX-0001. Twitter’s Demonstratives will be identified with DDX numbers, starting with DDX-

  0001.

          82.    Demonstratives exchanged will not be used, or referred to, by the opposing party

  prior to being used by the disclosing party.

          83.    With respect to both Demonstratives to be used on direct examination of a witness

  and Opening Demonstratives, parties are to provide color demonstratives natively or by other

  electronic means such that animations and builds are readily ascertainable.



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          84.     Demonstratives for direct examination or opening must be cleared of any

  outstanding objections before being shown to the jury. Additionally, any transcripts of testimony

  (excluding testimony given during this trial) must have been previously designated by the parties

  and cleared of outstanding objections before being shown to the jury during opening or on direct

  examination. On cross-examination, transcripts of testimony may be used to impeach the

  witness so long as it is not in violation of a motion in limine or other exclusionary order, or rule

  of evidence, regardless of whether it was previously designated by the parties.

          85.     Demonstratives will not be sent back with the jury during deliberations.

          86.     The parties will exchange final digital copies of their exhibits, with exhibit numbers,

  fourteen (14) days before the first day of trial. The final digital copy of each exhibit page will be

  endorsed with a unique page identifier, including the exhibit prefix, exhibit number, and page

  numbers of the electronic document. The exhibit prefixes shall be “PTX” for exhibits on the

  VidStream’s Exhibit List, and “DTX” for exhibits on Twitter’s Exhibit List. The page numbering

  shall begin at 1 for the first page of each exhibit and the numbering on each page should include the

  trial exhibit number and the physical page number separated by a decimal. For example, page 62 of

  VidStream’ss Exhibit 1 would be endorsed or paginated as either: “PTX-001.0062” or “PTX-1.0062”

          87.     For exhibits that are Excel spreadsheets, PowerPoint presentations, images, or

  video files, the parties may use electronic versions of such exhibits in their native format. For

  demonstratives, the parties may copy-and-paste portions from original native versions of exhibits

  that are included on the parties’ exhibit lists.

          88.     A legible copy of an exhibit may be offered and received in evidence in lieu of the

  original, subject to all foundational requirements and other objections that might be made to the

  admissibility of originals, subject to the right of the party against whom it is offered to inspect an

  original upon request reasonably in advance of any proposed use of the photocopy.


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         89.     Legible copies of U.S. patents and patent applications, and the contents of

  associated file histories, may be offered and received in evidence in lieu of certified copies

  thereof, subject to all other objections which might be made to admissibility of certified copies.

                 2.      General Procedures for Disclosures

         90.     The parties will exchange by email copies of all documentary, graphic, slide,

  animation, and any other form of Demonstratives they plan to use at trial for use during direct

  examination—but not for cross-examination—and an identification of witnesses each such

  Demonstrative will be used with on direct examination, by 7:00 p.m. the night before their

  intended use. In other words, if a Demonstrative will be used on a Wednesday, it must be

  exchanged or made available by 7:00 p.m. on Tuesday. The parties shall exchange objections to

  these Demonstratives by 9:00 p.m. on the day the Demonstratives are received.

         91.     The parties will make available for inspection physical exhibits (including any to

  be used in live product demonstrations) they plan to use at trial for use during direct examination

  or opening—but not for cross-examination—by 6:00 p.m. two nights before their intended

  use. Photos or electronic images of any physical demonstratives, including any poster boards,

  must be exchanged via email at the same time, and such physical demonstratives must also be

  made available for inspection at the same time. In other words, if a physical exhibit will be used

  on a Wednesday, it must be exchanged or made available by 6:00 p.m. on Monday. The parties

  shall exchange objections to these physical exhibits by 9:00 p.m. on the day the

  Demonstratives are received.

         92.     The parties will exchange by email lists of exhibits they intend to use during

  direct examination by 7:00 p.m. the night before their intended use, and an identification of

  the witnesses each such exhibit will be used with on direct examination or by deposition

  designation. In other words, if an exhibit will be used on a Wednesday, it must be exchanged by


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  7:00 p.m. on Tuesday. The parties’ disclosures will reflect a good faith estimate of the exhibits

  that will be used with a particular witness and all efforts will be made to streamline disclosures

  such that they do not include excessive numbers of exhibits that do not ultimately get used. The

  parties shall exchange objections to these exhibits by 9:00 p.m. the day the list of exhibits is

  received. To the extent that any exhibit will be submitted in a form other than that previously

  disclosed (e.g., with additional redactions), the party shall meet and confer about the

  modifications to said exhibits in advance of submitting the modified exhibits to the Court.

         93.     For admitted trial exhibits, the party that called a given witness that day will

  provide the other party at 9 pm with a list of exhibits that were admitted into evidence during the

  testimony of that witness, including during any direct, cross, redirect, and recross examinations.

  To the extent there are any additions or modifications to the proposed list of admitted exhibits,

  the parties shall discuss at 10:00 p.m. that same day. The following trial day, the party offering

  the witness shall read the list of admitted exhibits into the record.

         94.     The parties will identify by email witnesses to be called live (in the order of

  call) and by deposition at 5:30 p.m. two days in advance of the day of trial during which the

  witnesses will testify. In other words, if a witness will testify on a Wednesday, the witness must

  be identified by 5:30 p.m. on Monday. If the opposing party has any objections to disclosed

  witnesses, the party shall provide such objections by 9:00 p.m. two days before the witness

  testimony is to be presented. The parties further agree to identify which witness they intend to

  be their final witness after which they will rest their case when that individual is disclosed

  pursuant to these procedures.

         95.     For deposition designations, the parties will provide a list of any deposition

  designations to be played by 5:30 p.m. two days before the designation is to be played. In




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  other words, if deposition testimony will be played on a Wednesday, it must be exchanged or

  made available by 5:30 p.m. on Monday. The parties’ disclosures will reflect a good faith

  estimate of the designations they actually intend to play in two days’ time, and all efforts will be

  made to streamline disclosures such that they do not include excessive designations that do not

  ultimately get used. Counters and objections to the affirmative designations are due by 9:30

  p.m. the day the affirmative designation is received. Further, objections to any counter-

  designations and counter-counter designation are due by 10:30 p.m. the day the affirmative

  designation is received. The parties will meet and confer about any objections to deposition

  designations at 11:00 p.m. the day the affirmative designation is received. After the parties

  meet and confer on the deposition designations and after any rulings by the Court the morning

  after the objections are made, the opposing party shall create a workable copy of the actual

  recordings to be played (or testimony to be read) and provide it to the other side by 7 p.m. the

  night before the designation is to be played. The parties agree to remove counsel’s objections

  or any discussion between counsel from the video clips that are to be shown to the jury. The

  parties shall cooperate in good faith to prepare the designated portions of the depositions for

  presentation at trial. The deposition designations and counter-designations shall be played in the

  order in which they appear in the transcript unless the parties provide a good basis to do

  otherwise. The time available for each side’s trial presentation shall be reduced by the length of

  its designations or counter-designations actually played or read at trial. If played, such time shall

  be measured by the amount of time of each party’s designations. If read, such time shall be

  measured by the lines of testimony each party designates as a percentage of the total number of

  lines read. Should the Court exclude the presentation of any designations, counter-designations,




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  or counter-counter designations, the parties shall work in good faith to make any necessary

  changes to the actual recordings to be played (or testimony to be read) thereafter.

         96.     The parties will identify by email any written discovery (interrogatory responses

  or responses to requests for admission) and/or stipulations that a party intends to read into the

  record at 7:00 p.m. the day before the written discovery response or stipulation is to be read

  into the record. The party shall also identify when it intends to read in the written discovery

  response or stipulation in relation to its order of witness testimony. If the opposing party has any

  objections to disclosed written discovery responses or stipulations, the party shall provide such

  objections by 9:00 p.m. the day before the written discovery response or stipulation is to be

  read into the record.

         97.     The parties will begin to meet and confer by 10:00 p.m. each night to resolve

  any objections disclosed that night over the use of identified witness testimony, deposition

  designations, physical and non-physical exhibits, demonstratives and written discovery. The

  parties shall make good faith efforts to resolve any objections to minimize disputes to be raised

  before the Court. To the extent any objections or disputes remain pending after the meet and

  confer, by 7:00 a.m. the next court day, unless otherwise agreed, the parties will exchange and

  transmit to the Court a single-spaced, brief submission identifying each issue that each party

  intends to raise with the Court that day.

                 3.       Opening/Closing Statements

         98.     At 7:00 p.m. the day before opening statements will be given, the parties shall

  exchange their opening statement Demonstratives. At 9:00 p.m. that same day, the non-

  offering party shall notify the offering party of any objections to the proposed opening statement

  Demonstratives. The parties will begin to meet and confer by 10:00 p.m. that same day to

  attempt to resolve any objections or other issues relating to the disclosed Demonstratives. If any


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  disputes remain following this conference, the parties shall follow the same procedures laid out

  in paragraphs 80, 98, and 101 regarding raising these disputes to the Court.

         99.     The parties agree to exchange binders containing a printed copy of any slides

  (including Demonstratives) to be used during a party’s closing argument immediately prior to

  giving its closing argument. To the extent a particular slide is not used in a party’s closing, the

  other party may not use that slide.

                 4.      Binders for Court

         100.    On each day of trial, the party that is presenting its case in chief will present the

  Court with a binder of the parties’ position statements on any discovery disputes and any relevant

  disputed exhibits or demonstratives in a binder for the Court at 8 am that day.

         101.    The parties agree to provide binders for opening and closing statements. One

  copy will be provided to opposing counsel, and two copies will be provided to the Court. The

  binders shall contain the disclosed demonstratives.

         102.    The parties agree to provide witness binders for each fact and expert witness for

  both direct and cross examination. The binders will contain physical copies of the documents to

  be used during the witness examination. One copy of the direct or cross examination binders will

  be provided to the witness, one copy will be provided to opposing counsel, and two copies will

  be provided to the Court.

         103.    For the day of closing statements, the parties shall jointly prepare a binder of

  admitted exhibits for the jury at the close of evidence.

                 5.      Miscellaneous

         104.    Five days prior to the beginning of trial and continuing through the end of trial,

  Twitter shall make its source code available for inspection at a location in Dallas, Texas. Twitter

  shall make the source code available in its native format and with the same tools and file


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  structure which the source code had when originally produced in this matter. During the five

  days prior to the beginning of trial and continuing through the end of trial, VidStream only need

  provide six (6) hours-notice for the inspection of source code and/or source code print requests.

  There shall be no requests to inspect or review source code overnight. Twitter shall make its best

  efforts to accommodate review during this period otherwise.




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   DATED: March 12, 2025                   Respectfully submitted,


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                                            Attorneys for Defendant Twitter, Inc.




  Signed April 2, 2025.                        ___________________________
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                                                David C. God
                                                         Godbey
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                                               Chief United States District Jud
                                                                            Judge
                                                                              dgee




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                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon all counsel of

  record via the Court’s CM/ECF system on March 12, 2025.

                                                  /s/ Jason D. Cassady
                                                    Jason D. Cassady




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